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                 UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

WALT DISNEY PARKS AND RESORTS
U.S., INC.,

                    Plaintiff,            Case No. 4:23-cv-00163

   -v-

RONALD D. DeSANTIS, in his official
capacity as Governor of Florida, et al.

                    Defendants.




         BRIEF OF AMICI CURIAE FORMER GOVERNORS, SENIOR
          GOVERNMENT ATTORNEYS, AND OTHER OFFICIALS
                     IN SUPPORT OF PLAINTIFF
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                    STATEMENT OF INTEREST OF AMICI

      Amici are a bipartisan group of former governors, legislators, senior

government attorneys, and other officials. Collectively, they have spent decades in

public service in both state and federal government throughout the country. They

represent different political parties, different regions of the country, and different

policy preferences. But all agree on one thing of central importance to this

litigation: Governor DeSantis’s and the Florida Legislature’s decision to single out

Plaintiff for retribution, based on its comments on an issue of public concern, is

anathema to the First Amendment and severely damaging to the political, social,

and economic fabric of the State.

       The Governor’s retaliatory actions are even more damaging because they

have nothing to do with the policy debate underlying this case. Rather, the series

of actions at issue in this lawsuit were conceived of and executed solely to punish

Plaintiff for the act of speaking out, not to help the Governor achieve his policy

aims. After all, the Governor has already won that battle – the bill that Plaintiff

spoke out in opposition to is the law of the land in Florida.

      Amici’s primary purpose in this brief is not to explain to the Court the

multiple ways in which the Governor’s actions are illegal. The Amended

Complaint, Plaintiff’s Oppositions to Defendants’ Motions to Dismiss, and the

amicus brief submitted by the Reporter’s Committee for the Freedom of the Press
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cover that ground admirably. See ECF Nos. 25, 58, 60-1, 64. Amici’s purpose is

instead is to leverage their executive branch experience to provide the Court with

insight into the appropriate role of the executive in a scenario like this one, to

explain in practical terms how the path the Governor has chosen is corrosive to the

form of democracy envisioned by the Constitution, and to re-emphasize this

Court’s critical constitutional role in curbing the excesses of governance by

retaliation.

                                    ARGUMENT

 I.    Governor DeSantis’s Actions Are Anti-Democratic and Exceed the
       Proper Scope of the Executive’s Role in Public Policy Debate.

       During their careers in public service and adjacent fields, Amici have been

involved in countless policy debates on issues of every type. In those roles, they

have experienced first-hand our country’s “profound national commitment to the

principle that debate on public issues should be uninhibited, robust, and wide-open,

and that it may well include vehement, caustic, and sometimes unpleasantly sharp

attacks on government and public officials.” New York Times Co. v. Sullivan, 376

U.S. 254, 270 (1964). They understand that our system of government, including

the First Amendment, requires a sometimes “unruly contest” in the exchange of

ideas between members of the public and government officials. ALEXANDER

BICKEL, Domesticated Civil Disobedience: The First Amendment, from Sullivan to

The Pentagon Papers, in THE MORALITY OF CONSENT 57, 82 (1975). They

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recognize both: (1) the appropriate tools provided to the executive to engage in

those debates – chief among them the platform that the office itself provides; and

(2) and the limitations that the law rightfully imposes on what the executive may

permissibly do to further their political aims.

      As to the former, the Governor of course has every right to use his so-called

“bully pulpit” to advance his policy objectives. Cf. ALAN ROSENTHAL, THE

DECLINE OF REPRESENTATIVE DEMOCRACY, p. 301 (1998) (explaining the “bully

pulpit” inherent to every governorship). He is free to use this platform to influence

public debate and public sentiment in favor of his policies and against those of his

critics. He is even free to criticize Plaintiff for its publicly expressed viewpoint

and to persuade others to do the same. That is an entirely appropriate way to

engage in the political process consistent with the First Amendment. As Justice

Brandeis observed nearly 100 years ago:

             To courageous, self-reliant men, with confidence in the
             power of free and fearless reasoning applied through the
             processes of popular government . . . the remedy to be
             applied [to speech they disagree with] is more speech, not
             enforced silence.

Whitney v. Cal., 274 U.S. 357, 377 (1927) (Brandeis, J. concurring). This

“counterspeech” principle is firmly embedded in Constitutional law. See, e.g.,

Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 586 (2001) (Thomas, J, concurring)

(if the government is concerned about “a message with which it disagrees,” it is



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able “to counteract that message with more speech, not enforced silence.”);

Linmark Associates, Inc. v. Willingboro, 431 U.S. 85, 97 (1977) (Marshall, J.).

And those who have held positions of significant public trust, as Amici have,

understand how and when a public officeholder properly employs the megaphone

of their office to pursue their political and policy goals. Most importantly, Amici

understand, as the Founders did, that debates over public policy are to be

welcomed, not feared; spirited debate is the lifeblood of a healthy democratic

process. The proper role of a governor when faced with such dissent is to engage

with it, not to suppress or punish it through the exercise of government power.

      The facts of this case demonstrate that Governor DeSantis plainly either fails

to understand or deliberately flouts the constitutional and normative limitations on

what the executive can do to further his aims.1 In seeking to punish Plaintiff for



1
    Notably, federal courts have already enjoined the State at least twice in the past
    year and a half for enacting viewpoint discriminatory policies aimed at
    controlling speech. See, e.g., Austin v. Univ. of Fla. Bd. of Trs., 580 F. Supp.
    3d 1137 (N.D. Fla. 2022) (enjoining a policy forbidding professors at a state
    university from serving as expert witnesses against the state); Pernell v. Fla.
    Bd. of Governors of the State Univ. Sys., 2022 U.S. Dist. LEXIS 208374 (N.D.
    Fla. Nov. 17, 2022) (enjoining the “Stop W.O.K.E. Act”, a law that limited
    teachers ability to discuss race in the classroom, and noting that Governor
    DeSantis had sought to “take[] over the ‘marketplace of ideas’ to suppress
    disfavored viewpoints and limit where professors may shine their light on
    . . . specific ideas . . . But the First Amendment does not permit the State of
    Florida to muzzle its university professors, impose its own orthodoxy of
    viewpoints, and cast us all into the dark.”).


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nothing more than speech he dislikes, Governor DeSantis has proven himself the

antithesis of the “courageous, self-reliant men” who founded this country.

Governor DeSantis might have properly employed the “power of free and fearless

reasoning,” that Disney enjoys to explain to the people of Florida why his

administration disagrees with Disney’s public statements. Instead, he improperly

employed the executive powers of his office, together with a compliant legislature,

to punish Plaintiff for taking a public position contrary to his own.

      There is no serious question that Governor DeSantis’s actions are retributive.

Even setting aside all the times he and his allies have explicitly and publicly said

so, see Am. Compl., ECF No. 25, ¶¶ 56-69, 74, 81-82, 95-100, 129-130, 136-140,

207, the conclusion is obvious from the simple fact that Governor DeSantis has

already won the policy battle: the bill that Plaintiff publicly opposed – which bans

public school teachers from holding classroom instruction about sexual orientation

or gender identity – is the law of land in Florida. See Jaclyn Diaz, Florida’s

governor signs controversial law opponents dubbed ‘Don’t Say Gay’, NPR (Mar.

28, 2022).2 Thus, none of the actions he has taken that are at issue in this litigation

can be explained away as natural parts of the political process. Rather, those

actions are quite clearly designed to do two things: (1) inflict economic harm on


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    Available at: https://www.npr.org/2022/03/28/1089221657/dont-say-gay-
    florida-desantis


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Plaintiff as retribution for its opposition to his policies; and (2) discourage

Plaintiff, and others, from opposing his policies in the future. See, e.g., Am.

Compl. ¶ 174 (quoting Governor DeSantis in a televised interview noting that since

he began taking action against Plaintiff, “[t]hey have not made a peep. That,

ultimately, is the most important [thing].”).

      That course of action – seeking to silence and punish political opponents for

nothing more than their dissent – goes well beyond the proper limits of political

debate or the appropriate use of the power and position of the governor’s office. In

Amici’s view, the Governor has thrown down nothing short of a direct challenge to

the founding principles of this country. The fact that Governor DeSantis has taken

these anti-democratic actions so blatantly and brazenly – that he is proud of them –

only makes them all the more damaging to the political and social fabric of Florida

and the country as a whole.

      The Supreme Court has observed that the Constitution forbids “legislative

punishment, of any form or severity, of specifically designated persons or groups.”

United States v. Brown, 381 U.S. 437, 447 (1965). That is because the Founders

were well aware of the danger to the constitutional framework they created, posed

by the misuse of executive and legislative power to target individuals. As

Alexander Hamilton noted, “[n]othing is more common than for a free people, in

times of heat and violence, to gratify momentary passions, by letting into the



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government principles and precedents which afterwards prove fatal to themselves.”

Brown, 381 U.S. at 444 (1965) (quoting III JOHN C. HAMILTON, HISTORY OF THE

REPUBLIC OF THE UNITED STATES, p. 34 (1859)). Writing in the Federalist Papers,

James Madison likewise observed that “[b]ills of attainder, ex post facto laws, and

laws impairing the obligation of contracts, are contrary to the first principles of the

social compact, and to every principle of sound legislation.” THE FEDERALIST NO.

44 (James Madison). The Founders thus incorporated safeguards against these

evils throughout the Constitution, including (among other places) in the Contracts

Clause, the Due Process Clause, and the First Amendment.

      Amici, when they were in office, knew and understood that these

foundational principles imposed limits on their executive authority, and that chief

among those limits was that they could not use the power of their position to single

out political opponents for government-sanctioned punishment. Governor

DeSantis’ conduct here at issue runs afoul of that basic precept of life in a

democratic society. He has used the power of his office to violate this core

principle enshrined in the First Amendment and has celebrated that. Regardless of

what they think of the Governor’s policies, every American should be concerned

by his willingness to not only disregard, but to flaunt his contempt for these

foundational principles. Amici, who know intimately the powers and

responsibilities of public office, certainly are concerned.



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II.     Plaintiff’s Lawsuit is the Natural Consequence of a Public Official’s
        Disregard of the Public Trust.
        Amici, with their decades of combined public service, believe deeply that “a

public office is a public trust.” As does the State of Florida – those words are

enshrined directly in its Constitution. Art. II, § 8 Fla. Const. Moreover, this

maxim is “[a] living tenet of our society and not mere rhetoric.” Nuesse v. Camp,

385 F.2d 694, 706 (D.C. Cir. 1967). It has long guided our nation’s philosophy:

“Any person in Government service should . . . [p]ut loyalty to the highest moral

principles and to country above loyalty to persons, party, or Government

department [and] uphold these principles, ever conscious that public office is a

public trust.” H.R. Con. Res. 175, 85th Cong. (July 11, 1958). The seven words

capture the essence of American public service:

              The ideal concept of public office, expressed by the
              words, ‘a public office is a public trust,’ signifies that the
              officer has been entrusted with public power by the
              people; that the officer holds this power in trust to be
              used only for their benefit and never for the benefit of
              himself or of a few; and that the officer must never
              conduct his own affairs so as to infringe on the public
              interest.

S. Res. 266, 90th Cong. (1968). Meeting this standard requires self-control. The

temptation to abuse public power for retaliation, retribution, or self-service can be

tantalizing: “[o]ne who has power, owing to the frailty of human nature will be too

readily seized with the inclination to use the opportunity for securing his own



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interest at the expense of that for which he is intrusted [sic].” Williams v. State ex

rel. Morrison, 315 P.2d 981, 984 (Ariz. 1957).

      Dialogue, political self-promotion, and crafting public policy messaging by

elected officials is expected and natural. In fact, democracy is well-served by it.

See Wood v. Georgia, 370 U.S. 375, 395 (1962) (“The role that elected officials

play in our society makes it all the more imperative that they be allowed freely to

express themselves on matters of current public importance.”). But when a public

official’s words and actions devolve into actual, retaliatory harm targeting an

ideological opponent, democracy is not well-served. At that point, the public trust

is broken — and judicial intervention is appropriate.

      Here, Plaintiffs’ Amended Complaint describes how Governor DeSantis has

violated the public trust and why they need this Court’s help. When criticized by

Plaintiff, rather than meeting the words with counterspeech, the Governor

exercised his authority to call the Legistature into Special Session. Am. Compl. ¶

61. He closely collaborated with legislative leadership to develop means

specifically to harm Plaintiff. Id. ¶ 59. Before and after inflicting this state-

sponsored punishment, he has wielded that harm to secure and advance his own

personal, political interests. See, e.g., id. ¶¶ 53, 56, 65, 69, 75, 81-82, 95, 98-100.

      Plaintiff’s lawsuit does not present a mere policy debate. Far from it. It

demands relief from real, tangible harm caused by DeSantis’ brazen breach of the



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public trust — and the Constitutional torts that naturally flow from his misconduct.

Amici urge this Court to take note of the serious consequences of DeSantis’

behavior.

            A. Governor DeSantis’s disregard for his duties to the public
               undermines democratic society.

      The Constitution protects speech “[r]egardless of whether the government

considers [such] speech sensible and well intentioned or deeply misguided.” 303

Creative LLC v. Elenis, 600 U.S. __ (2023) (citing Hurley v. Irish-American Gay,

Lesbian and Bisexual Group of Boston, Inc., 515 U. S. 557, 574 (1995)). Other

modern nations around the world generally recognize the right to hold opinions

without state interference or retaliation. U.N. General Assembly Res. 2200A

(XXI), Int’l Covenant on Civil and Political Rights (Dec. 16, 1966). Indeed,

“[f]reedom of opinion and freedom of expression . . . are essential for any society.

They constitute the foundation stone for every free and democratic society.”

Human Rights Comm., General Comment No. 34, at 2, U.N. Doc. CCPR/C/GC/34

(2011). Retaliation and censorship are not badges of a healthy democracy.

      Rather, retaliation and censorship are symptoms of autocracy. When

expression is muzzled through punitive and censorial government actions,

authoritarianism thrives. See FREEDOM HOUSE, FREEDOM IN THE WORLD 2023 at 14

(2023) (“The denial of press freedom and freedom of personal expression bolsters

authoritarian control by cutting citizens off from accurate information and, just as

                                         10
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importantly, from one another.”).3 Examples of government retaliation against

business for expressing dissent are not hard to find, and they invariably arise in the

world’s most repressive regimes. For example, in 2003, Mikhail Khodorovsky,

then the richest man in Russia, was arrested, charged, and convicted of fraud, while

his company was subject to severe economic retaliation, because he openly

criticized the Putin regime. Seth Mydans and Erin E. Arvedlund, Police In Russia

Seize Oil Tycoon, N.Y. TIMES (OCT. 26, 2003).4 Similarly, China investigated and

fined world famous entrepreneur Jack Ma, founder of the Ant Group, nearly $1

billion after he publicly criticized Chinese regulators in 2020. Claire Fu, China

Fines Ant Group $985 Million, in Sign Crackdown Is Over, N.Y. TIMES (July 7,

2023).5

      In following these autocratic examples, Governor DeSantis’s actions cause

harm that is far broader than that suffered by Plaintiff. In choosing to punish

Plaintiff in the public square for criticizing contentious legislation, Governor

DeSantis has made clear that he will use the power of his office to exact retribution



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    Available at: https://freedomhouse.org/sites/default/files/2023-
    03/FIW_World_2023_DigtalPDF.pdf.
4
    Available at: https://www.nytimes.com/2003/10/26/world/police-in-russia-
    seize-oil-tycoon.html
5
    Available at: https://www.nytimes.com/2023/07/07/business/alibaba-ant-
    group-fine.html.


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against any corporation that dares to “[u]se their economic power to advance” an

agenda contrary to his own, or to “become political and not merely economic

actors.” Am. Compl. ¶ 99. The Court should not validate this chilling authoritarian

impulse if the promise of the Constitution is to have any meaning in the State of

Florida.

           B. Governor DeSantis’s disregard for his duties to the public
              undermines the free market.

      Governor DeSantis’ targeted pursuit of legislation against Plaintiff not only

chills the free exchange of ideas and public debate; it also erodes the free-market

economic principles that underpin the American economy. In Amici’s view,

safeguarding those principles, and fostering an environment where private industry

can thrive, is one of the highest purposes of the executive. Here, Governor

DeSantis has ignored this responsibility in favor of a form of political retaliation

that will continue to impair the economic health of his state.

      As a legal matter, to the extent Governor DeSantis believes that there is

something wrong with corporations “using their economic might to advance a

political agenda,” he is incorrect. Am. Compl. ¶ 99. The Supreme Court has

concluded that businesses and corporations have as much right to participate in the

political process as do natural persons. Citizens United v. Federal Election Com’n,




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558 U.S. 310, 339 (2010).6 Of course, if the people disagree with a corporation’s

political actions, they are free to conversely use their economic power to make

their voices heard through boycotts. See, e.g., NAACP v. Claiborne Hardware Co.,

458 U.S. 886, 915 (1982). Indeed, “[f]rom the colonists’ protest of the Stamp and

Townsend Acts to the Montgomery bus boycott and the National Organization for

Women’s campaign to encourage ratification of the Equal Rights Amendment,

boycotts have played a central role in our Nation’s political discourse.” FTC v.

Superior Court Trial Lawyers Assn., 493 U.S. 411, 447 (1990) (Brennan, J.

concurring in part). And of course, the executive is allowed to use his voice to

speak out against corporate speech he disagrees with. Wood, 370 U.S. at 395. But

he may not, consistent with the Constitution, employ the apparatus of government

– including the legislative process – to favor one side or another in such debates.

See, e.g., Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 828

(“In the realm of private speech or expression, government regulation may not

favor one speaker over another.”).

         Indeed, the very law that enabled Plaintiff to enter into the contracts with

local government – contracts that Governor DeSantis is now attempting to rescind

– noted the important function of government in creating a stable climate for


6
     Not all Amici agree with the Court’s decision in Citizens United. But all
    recognize that it is the law of the land.


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business development. That law, the Florida Local Government Development

Agreement Act, expressly recognizes that “lack of certainty” in a business’s

regulatory environment “can result in a waste of . . . resources, discourage sound

capital improvement planning and financing, escalate the cost of [economic

development], and discourage commitment to comprehensive planning.” Fla. Stat.

§ 163.3220(2) (2022).

      By contrast, Governor DeSantis, by seeking to legislate economic harm on

Plaintiff in retaliation for its political opposition, has signaled to the marketplace

that it cannot expect the certainty and predictability it requires to safely and

profitably do business in the State of Florida. Any business considering expansion

or further investment in the state must now take into account not just the business

risks any going concern faces, but also the risk of economic retaliation from the

Governor if it publicly opposes his political positions. Indeed, such effects have

already begun. See, e.g., Brooks Barnes, Disney Pulls Plug on $1 Billion

Development in Florida, N.Y. TIMES, (May 18, 2023).7 As a result, even

prominent members the Governor’s own party have roundly criticized his actions




7
    Available at: https://www.nytimes.com/2023/05/18/business/disney-ron-
    desantis-florida.html


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as “anti-business.” Katherine Tangalakis-Lippert, GOP Critics pile on DeSantis

over Disney feud, BUSINESS INSIDER (Apr. 18, 2023).8

         Economic stagnation is the natural end point of Governor DeSantis’s

disregard of the basic requirement that he conduct the Office of the Governor in

accordance with the Constitution, as well as his normative obligation to govern for

all the citizens of his state, not just those that agree with him. The Constitutional

violations documented in Plaintiff’s Amended Complaint are the consequence of

the Governor’s disregard for the public’s sacred trust. This transcends

disagreement about the role of special economic districts or of LGBTQIA+

curricula in education policy. Amici respectfully urge this Court to closely

examine how the basic democratic and economic principles threatened by

Governor DeSantis’s actions will continue to erode unless his retaliation is

restrained.

III.     It is the Proper Role of the Courts to Curb This Abuse of Executive
         Power
         While this case has received substantial attention because of the Governor’s

bullying of Plaintiff, the fact pattern is unfortunately all too common. See, e.g.,

Laura Rodriguez et al., Jury Finds Miami Commissioner Joe Carollo Liable in Ball




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       Available at: https://www.businessinsider.com/gop-critics-turn-on-ron-
       desantis-over-disney-business-feud-2023-4.


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& Chain Lawsuit, Awards Plaintiffs $63M, NBC 6 (June 2, 2023) (detailing jury

verdict against Miami Commissioner who “weaponized the city’s police and code

enforcement departments to shut down several of [Plaintiff’s] businesses . . .

because they supported his political opponent.”).9 It is important to recognize that

such scenarios are only “political” in the most attenuated sense. In other words,

they do not really have anything to do with policy – they are all about power. As

noted above, the governmental and legislative actions Plaintiff challenges in this

case were not taken in furtherance of policy aims – Governor DeSantis had already

achieved those aims by passing the legislation that Plaintiff originally opposed. As

Governor DeSantis and his allies’ repeated public statements make obvious, they

were taken to punish Plaintiff for engaging in the political process – and to

discourage Plaintiff from doing so in the future.

      Since Marbury v. Madison, the Supreme Court has made it clear that it is the

role of the courts to police the excesses of executive and legislative power. 5 U.S.

137 (1803). Courts provide the safeguard against the impulse to tyranny that the

Founders prophesied would infect executive and legislative bodies. See, e.g., THE

FEDERALIST NO. 78 (Alexander Hamilton) (“Limitations [on legislative authority]

can be preserved in practice no other way than through the medium of courts of


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    Available at: https://www.nbcmiami.com/news/local/miami-commissioner-joe-
    carollo-found-liable-in-ball-chain-lawsuit/3045344/


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justice, whose duty it must be to declare all acts contrary to the manifest tenor of

the Constitution void.”). Plaintiff in this case is emphatically not asking the Court

to meddle in the political process. Instead, this is quite simply a case where a

litigant seeks redress for an alleged violation of its constitutional rights by the

government. As this Court is well aware, federal and state courts around the

country adjudicate hundreds of such disputes every day.

      Nor does it matter that some of the specific actions challenged here were

nominally legislative. While, as a general matter, courts are hesitant to inquire into

the legislative process, see United States v. O’Brien, 391 U.S. 367, 383-84 (1968),

courts will not flinch in protecting citizens from laws that are demonstrably

punitive. See id at 383 n. 30 (nothing bars courts from seeking “to determine

whether [a] statute[] under review w[as] punitive in nature.”); see also Brown, 381

U.S. 437, 462 (1965) (striking down federal law that barred communist party

members from serving as officers of labor unions); Foretich v. United States, 351

F.3d 1198, 1226 (D.C. Cir. 2003) (striking down a D.C. law that targeted one party

to a custody dispute), Consol. Edison Co. of N.Y., Inc. v. Pataki, 292 F.3d 338, 355

(2d Cir. 2002) (striking down New York state law that imposed retaliatory

economic burdens on utility company). Indeed, the Constitution itself recognizes

that legislation can impermissibly target political opponents. See U.S. Const. Art. I




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Sec. 10 (“No state shall . . . pass any bill of attainder, ex post facto law, or law

impairing the obligation of contracts.”).

      Where, as here, the Amended Complaint alleges exactly that scenario, see,

e.g., Am. Compl. ¶¶ 176-188 (alleging a violation of the Contracts Clause), this

Court should have no hesitation to fulfill its constitutional role of policing the

limits of executive and legislative authority.

                                   CONCLUSION
      For the foregoing reasons, amici urge this Court to deny the motion to

dismiss, and allow this case to proceed to discovery.


Dated: August 2, 2023                            Respectfully Submitted,

                                                 /s/ Charles D. Tobin

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                      APPENDIX A – LIST OF AMICI

Former Governors
       Governor Arne Carlson - Former Governor of Minnesota (R)
       Governor Christine Todd Whitman - Former Governor of New Jersey (R)

Other Former Elected Officials

       Representative Tom Coleman - Former U.S. Representative (R-MO)
       Lieutenant Governor Kerry Murphy Healey - Former Lieutenant
        Governor of Massachusetts (R)
       Representative Claudine Schneider - Former U.S. Representative (R-RI)
       Representative Christopher Shays - Former U.S. Representative (R-CT)

Former Senior Government Attorneys and Officials

       Karen Agnifilo - Former Chief Assistant District Attorney for the
        Manhattan District Attorney’s Office
       Hon. Donald Ayer – Former Deputy Attorney General under President
        George H.W. Bush
       Hon. John Farmer - Former Attorney General of New Jersey
       Hon. Stuart Gerson - Former Assistant Attorney General and Acting U.S.
        Attorney General
       Hon. William Kristol – Former Chief of Staff to Vice President Dan
        Quayle
       Renato Mariotti - Former Assistant U.S. Attorney
       Professor Richard Painter – Former Chief Ethics Lawyer to President
        George W. Bush
       Hon. Trevor Potter - Former Commissioner and Chair, Federal Election
        Commission
       Hon. Alan Charles Raul - Former General Counsel for Office of
        Management and Budget and U.S. Department of Agriculture
       Hon. Sarah Saldaña - Former Director of U.S. Immigration and Customs
        Enforcement under President Barack Obama
       Hon. Olivia Troye - Former Homeland Security and Counterterrorism
        Advisor to Vice President Mike Pence
       Hon. Stanley Twardy - Former U.S. Attorney, District of Connecticut
       Shanlon Wu - Former Counsel to Attorney General Janet Reno



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                     CERTIFICATE OF COMPLIANCE
       The undersigned hereby certifies this motion complies with Local Rule 7.1(F).

The motion contains 4040 words, excluding the caption, signature blocks, and

certificates.



                                              /s/ Charles D. Tobin
                                              Charles D. Tobin




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                        CERTIFICATE OF SERVICE
      Pursuant to Local Rule 7.1, the undersigned certifies that on August 2, 2023,

he electronically filed this motion with the Clerk of the United States District Court

for the Northern District of Florida through its CM/ECF system, which will generate

an electronic copy served on all counsel of record.



                                              /s/ Charles D. Tobin
                                              Charles D. Tobin




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